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                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                         FORT SMITH DIVISION

UNITED STATES OF AMERICA                                            PLAINTIFF
v.                         2:10CR20057-005
URIEL LIRA-PEREZ                                                    DEFENDANT


                                 ORDER
     Currently before the Court are Defendant’s Motion for Return
of Property pursuant to Rule 41(g) of the Federal Rules of Criminal
Procedure (doc. 249) and the Government’s response (doc. 251).
     The property that is the subject of Defendant’s Motion was not
seized by federal authorities.        The property was the subject of a
forfeiture proceeding in Sebastian County Circuit Court, case
number CV-2010-1918. Accordingly, Defendant’s Motion (doc. 249) is
DENIED, and he is advised that any relief in connection with the
seized property should be sought in the state court.
     IT IS SO ORDERED this 14th day of May, 2012.


                                         /s/Robert T. Dawson
                                         Honorable Robert T. Dawson
                                         United States District Judge
